AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                  United States of America                  District of &ROXPELD
                             v.
                                                                     )
                 Linwood Alan Robinson Sr.
                      DOB: XXXXXX                                    )
                 /LQZRRG$ODQ5RELQVRQ,,                         )      Case No.
                      '2%;;;;;;                                   )
                  %HQMDPLQ6FRWW5RELQVRQ
                      '2%;;;;;;                                   )
                  %ULWWDQ\1LFROH5RELQVRQ                           )
                      '2%;;;;;;                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                             in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Robert Hamilton, 7DVN)RUFH2IILFHU
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                          2022.05.16
Date:             05/1/2022
                                                                                                          17:14:21 -04'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
